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                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF ARKANSAS
                                              LITTLE ROCK DIVISION

Debtor(s) Jerry & Linda Tatum                                                  Case No. 4:19-10831




                                                Arkansas Chapter 13 Plan
                                                    (Local Form 13-1)
___________________________________________________________________________________________________________

 Original Plan              Amended Plan               For an amended plan, all applicable provisions must be repeated
                                                       from the previous plan(s). Provisions may not be incorporated by
                                                       reference from previously filed plan(s).

                                                       List below the sections of the plan that have been changed:
                                                       _________________________________________________________________

                                                       State the reason(s) for the amended plan, including any changes of circumstances
                                                       below. If creditors are to be added, please complete Addendum A as well as file
                                                       any appropriate amended schedules.
                                                       ________________________________________________________________

                                                       ________________________________________________________________

                                                       The Amended Plan is filed:           Before confirmation
                                                                                            After confirmation
 Part 1: Notices
 To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form
               does not indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules
               and judicial rulings may not be confirmable.

                Original plans and amended plans must have matrix(ces) attached or a separate certificate of service should be
                filed to reflect service in compliance Fed. R. Bankr. P. 2002.

 To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read
               this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney,
               you may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your
               attorney must file a written objection to confirmation with the United States Bankruptcy Court either electronically (if filer
               is approved for electronic filing) or at the following addresses:

                     For Eastern District cases (Batesville, Helena, Jonesboro, Little Rock, or Pine Bluff Divisions):
                      United States Bankruptcy Court, 300 West 2nd Street, Little Rock, AR 72201

                     For Western District cases (El Dorado, Fayetteville, Fort Smith, Harrison, Hot Springs, or Texarkana Divisions):
                      United States Bankruptcy Court, 35 E. Mountain Street, Fayetteville, AR 72701

                The objection should be filed consistent with the following timelines:

                      Original plan filed at the time the petition is filed: Within 14 days after the 341(a) meeting of creditors is
                      concluded.

                      Original plan filed after the petition is filed or amended plan (only if filed prior to the 341(a) meeting): Within
                      the later of 14 days after the 341(a) meeting of creditors is concluded or 21 days after the filing of the plan.

                      Amended plan: Within 21 days after the filing of the amended plan.


              The court may confirm this plan without further notice if no objection to confirmation is timely filed.
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  The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the plan
  includes each of the following items. If an item is checked as “Not included” or if both boxes are checked, the provision will
  be ineffective if set out later in the plan.
         A limit on the amount of a secured claim, set out in Section 3.4, which may
   1.1                                                                                            Included        Not included
         result in a partial payment or no payment at all to the secured creditor.
    1.2 Nonstandard plan provisions, set out in Part 8.                                                  Included          Not included

 Part 2: Plan Payments and Length of Plan
  2.1 The debtor(s) will make regular payments to the trustee as follows:
    Inapplicable portions below need not be completed or reproduced.
    Original plan: The debtor(s) will pay $400.00 per month to the trustee. The plan length is 36 months.
       Amended plan: Plan payments will change to $________ per month beginning on the later of the date of filing of the amended
       plan or ________. The plan length is ________ months.

         The following provision will apply if completed:
              Plan payments will change to $________ per month beginning on ________.
         The debtor(s) will pay all disposable income into the plan for not less than the required plan term, or the applicable commitment
         period, if applicable, unless unsecured creditors are being paid in full (100%). If fewer than 60 months of payments are
         specified, additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this
         plan.
  2.2    Payments shall be made from future income in the following manner:
         Name of debtor Jerry & Linda Tatum

               Direct pay of entire plan payment or ________ (portion of payment) per month.
  2.3  Income tax refunds.
           Debtor(s) will retain income tax refunds received during the plan term and have allocated the refunds in the budget.
           Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
       return and will turn over to the trustee all income tax refunds received during the plan term.
          Debtor(s) will treat income tax refunds as described below. The debtor(s) will supply the trustee with a copy of each income
       tax return filed during the plan term within 14 days of filing.
2.4 Additional payments.
           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
           To fund the plan, debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe
       the source, estimated amount, and date of each anticipated payment.
 Part 3: Treatment of Secured Claims
  3 . 1 Adequate Protection Payments.
             None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
             The debtor(s)’ plan payment to the trustee will be allocated to pay adequate protection payments to secured creditors as
         indicated below. The trustee shall be authorized to disburse adequate protection payments upon the filing of an allowed claim
         by the creditor. Preconfirmation adequate protection payments will be made until the plan is confirmed. Postconfirmation
         adequate protection payments will be made until administrative fees are paid (including the initial attorney’s fee). Payment of
         adequate protection payments will be limited to funds available.
                Creditor and last 4                                       Monthly
                                          Collateral                                                   To be paid
           digits of account number                                       payment amount
           Capital      One      Auto 2012 Infiniti G37                   $100                              Preconfirmation
           Finance                                                                                          Postconfirmation
  3 . 2 Maintenance of payments and cure of default (long term-debts, including debts secured by real property that debtor(s)
        intend to retain).
            None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
            The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, including any
        changes required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed
        either by the trustee or directly by the debtor(s), as specified below. The debtor(s) will resume payments to the creditors upon
        completion of the plan, pursuant to the terms of the respective agreements. Any existing arrearage will be paid in full through
        disbursements by the trustee, with interest, if any, at the rate stated.
        The current contractual installment payments for real estate may be increased or decreased, and the plan payment increased, if
        necessary, based upon information provided by the creditor and upon the absence of objection from the debtor(s) under applicable
        rules. Unless otherwise ordered by the court, the amounts listed on a filed and allowed proof of claim will control over any contrary
        amounts listed below as to the current installment payment and arrearage amount. If relief from the automatic stay is ordered
        as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
        paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the
        plan.
                                                                         Monthly                                             Interest rate,
           Creditor and last                            Monthly                           Estimated        Monthly
                                                                         installment                                         if any, for
           4 digits of           Collateral             installment                       arrearage        arrearage
                                                                         payment                                             arrearage
           account number                               payment                           amount           payment
                                                                         disbursed by                                        payment

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          Carrington             Mortgage     at         $1,534.68           Debtor(s)             -               -                  -
          Mortgage Svcs          225 Plantation          (paid               Trustee
                                 Dr. Mayflower,          outside by
                                 AR 72106                debtors)
  3.3 Secured claims excluded from 11 U.S.C. § 506 (non-506 claims).
          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
  3.4 Claims for which § 506 valuation is applicable. Request for valuation of security, payment of fully secured claims, and
      modification of undersecured claims.
          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
      The remainder of this paragraph will be effective only if there is a check in the box “included” in § 1.1.
          The debtor(s) request that the court determine the value of the collateral securing the claims as listed below. For each non-
      governmental secured claim listed below, the debtor(s) state that the value of the collateral securing the claim should be as set
      out in the column headed Value of collateral. For secured claims of governmental units, unless otherwise ordered by the court,
      the value of the collateral securing the claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over
      any contrary amount listed below.
      Secured claims will be paid the lesser of the amount of the claim or the value of the collateral with interest at the rate stated
      below. The portion of any allowed claim that exceeds the value will be treated as an unsecured claim under Part 5 of this plan. If
      the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
      as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the claim amounts listed on a filed and
      allowed proof of claim will control over any contrary amount listed below, except as to value, interest rate and monthly payment.
      The holder of any claim listed below as having value in the column headed Value of collateral will retain the lien on the property
      interest of the debtor(s) or the estate(s) until the earlier of: (a) payment of the underlying debt determined under nonbankruptcy
      law, or (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
      creditor.
         Creditor and last 4                                        Debt/                                                     Estimated
                                                    Purchase                         Value      of Interest     Monthly
         digits of account Collateral                               estimated                                                 unsecured
                                                    date                             collateral     rate        payment
         number                                                     claim                                                     amount
          Capital   One          2012 Infinity        2013          $17,000.00        $7,975.00        5%           $239.02        $9,025.00
          Auto Finance           G37
  3.5  Surrender of collateral.
          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
  3.6Secured claims not provided treatment. In the event that a secured claim is filed and allowed that is not provided treatment in
       the plan, the trustee shall pay such creditor the claim amount without interest after this plan in all other respects has been
       completed.
  Part 4: Treatment of Fees and Priority Claims
  4.1  General.
       Trustee’s fees and all allowed priority claims, including domestic support obligations, will be paid in full without postpetition interest.
  4.2 Trustee’s fees.
       The trustee’s fees are governed by statute and may change during the course of the case.
  4.3 Attorney’s fees.
       The attorney’s fee is subject to approval of the court by separate application. The following has been paid or will be paid if
       approved by the court:
            Amount paid to attorney prior to filing: $0
            Amount to be paid by the trustee:            $3,500.00 + $81.00 mailing cost
            Total fee requested:                         $3,581.00
      Upon confirmation, the attorney shall receive an initial fee as provided in the application and approved by the court from funds
      paid by the debtor(s), after administrative costs have been paid. The remaining fee will be paid at the percentage rate of the total
      disbursed to creditors each month provided in the application approved by the court.

             The initial fee and percentage rate requested in the application are $1,200.00 and 25%, respectively.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

        Filed and allowed priority claims (usually tax claims), including without limitation, the following listed below, will be paid in full in
        accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated. For claims filed by governmental units, the categorization
        of the claim by the creditor (secured, priority, nonpriority unsecured) and amounts shall control over any contrary amounts unless
        otherwise ordered by the court.
          Creditor                                  Nature of claim (if taxes, specify type and years)              Estimated claim amount
          Internal Revenue Service                  Income tax                                                      $418.21

          Faulkner County Collector                 Personal Property                                               $599.11

          Faulkner County Collector                 Personal Property                                               $242.64


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  4.5   Domestic support obligations.
          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
 Part 5: Treatment of Nonpriority Unsecured Claims
  5.1   Nonpriority unsecured claims.
        Allowed nonpriority unsecured claims shall be paid at least as much as they would receive if the debtor(s) filed a Chapter 7 case.
        Allowed nonpriority unsecured claims shall be paid in full (100%) unless a different treatment is indicated below. For
        above median income debtor(s), the distribution to unsecured creditors includes any disposable income pool (monthly disposable
        income times 60 months) from Form 122C-2, unless the debtor(s) are unable to meet the disposable income pool based on the
        following circumstances: _________________________________________________________________________________
             A PRORATA dividend, including disposable income pool amounts, if applicable, from funds remaining after payment of all
        other classes of claims; or
            Other. Please specify _____________________________________________.
  5.2   Special nonpriority unsecured claims and other separately classified nonpriority unsecured claims.
            None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
        5.3 Maintenance of payments and cure of any default on nonpriority unsecured claims.
            None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
        Part 6: Contracts, Leases, Sales and Postpetition Claims
  6.1   Executory Contracts and Unexpired Leases.
             None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
        The executory contracts and unexpired leases listed below are assumed or rejected as indicated.
             Assumed items. The following executory contracts and unexpired leases are assumed, and payments due after the filing of
        the case will be paid directly by debtor(s), or by the trustee, as set forth below. Debtor(s) propose to cure any default by paying
        the arrearage on the assumed leases or contracts in the amount listed on the filed and allowed proof of claim, if contrary to the
        amount listed below.
                                  Description of                                            Number of                       Monthly
                                                           Payment to Payment                               Arrearage
           Creditor               contract or                                               remaining                       arrearage
                                                           be paid by       amount                          amount
                                  property                                                  payments                        payment
           Progressive            Furniture lease             Debtor(s)     $300                -                -               -
           Leasing                                            Trustee
              Rejected items. The debtor(s) reject the following executory contracts or unexpired leases. The debtor(s) request that upon
        confirmation of this plan, the stay under 11 U.S.C. §§ 362(a) and 1301(a) be terminated as to the property only. No further
        payments are to be made to the creditor on the contract or lease. However, the creditor may file a claim for the deficiency and
        will be treated as a nonpriority unsecured creditor.
          Creditor and last 4 digits of account number                     Description of contract or property
  6.2   Sale of assets.
            None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.
        6.3 Claims not to be paid by the trustee.
            None. If “None” is checked, the rest of § 6.3 need not be completed or reproduced.
            The following claims are to be paid directly to the creditor by the debtor(s) and not by the trustee. These claims include home
        mortgage, lease payments, and debts actually being paid by a party other than the debtor(s) (who is liable for the debt) from
        property that is not property of the estate.
                                                                                     Description of property/nature of
          Creditor                                Payment to be paid by
                                                                                     obligation
          Carrington Mortgage                        Debtor(s)                       Mortgage at 225 Plantation Dr.
                                                     Other _______________
                                                                                  Mayflower, AR 72106 to be paid outside
                                                                                  by debtors
  6.4   Postpetition claims.
            None. If “None” is checked, the rest of § 6.4 need not be completed or reproduced.
            Postpetition claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6) may be added to the plan by the debtor(s) and, if the creditor
        elects to file a proof of claim with respect to the postpetition claim, the claim may be treated as though the claims arose before
        the commencement of the case, to be paid in full or in part through the plan. Upon completion of the case, any unpaid balance
        of such claim may be subject to discharge.
 Part 7: Vesting of Property of the Estate
  7.1   Property of the estate will vest in the debtor(s) upon:
           plan confirmation.
           entry of discharge.
           other: _________________________________________________________
 Part 8: Nonstandard Plan Provisions
           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
        Under Bankruptcy Rule 3015.1(c), nonstandard provisions must be set forth below. A nonstandard provision
        is a provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set
        out elsewhere in this plan are ineffective.

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  8.1   The following plan provisions will be effective only if there is a check in the box “included” in § 1.2.
 Part 9: Signatures
        By filing this document, the attorney for the debtor(s) or the debtor(s) themselves, if not represented by an
        attorney, certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
        those contained in plan form used in the Eastern and Western Districts of Arkansas, other than any
        nonstandard provisions included in Part 8.

                /s/ Kent Pray
                _____________________________________                Date 2/14/19
                Signature of Attorney for Debtor(s)

                            Addendum A – For Amended Plans
               Listing of Additional Creditors and Claims for Plan Purposes
Note: While additional creditors may be listed on Addendum A, the debtor(s) also must file amended schedules as
appropriate.
A.1     Prepetition Nonpriority Unsecured Claims.
    The following are creditors with prepetition nonpriority unsecured claims that are added to the plan. These creditors
    will be provided treatment as described in Part 5.1 of the plan.


A.2     Postpetition Nonpriority Unsecured Claims.
    The following are creditors with postpetition nonpriority unsecured claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6)
    that are added to the plan by the debtor(s). The creditors listed below are entitled to participate in the debtor(s)’
    bankruptcy case at the election of the creditor.
    A creditor may elect to participate in the plan by filing a proof of claim for the postpetition claim. The claim
    will be treated as though the claim arose before the commencement of the case and will be provided treatment
    as described in Part 5.1 of the plan. Upon completion of the plan and case, any unpaid balance of such claim
    may be subject to discharge.




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                                 CERTIFICATE OF MAILING
    I, the undersigned, hereby certify that copies of the foregoing notice and attached Plan have been mailed or provided
through ECF to the following:


    Legal Division                      Internal Revenue Service
    Employment Security Div.                PO Box 7346
    P. O. Box 2981                      Philadelphia, PA 19101
    Little Rock, AR 72203

    Legal Division
    Dept. of Finance & Admin.
    P.O. Box 1272
    Little Rock, AR 72203


    U. S. Attorney
    Eastern District
    P. O. Box 1229
    Little Rock, AR 72203

    Mark T. McCarty
    Chapter 13 Standing Trustee
    P.O. Box 5006
    N. Little Rock, AR 72119-5006
    (ECF)

    Capital One Auto
    C/o Corporation Service Co.
    300 Spring Bld, Ste 900
    300 S. Spring St.
    Little Rock, AR 72201 (1st Class Mail)

and to all creditors whose names and addresses are set forth below:

Dated: 2/14/19


                        \s\ Kent Pray
                        _________________________
                        Kent Pray, Bar No. 91228
                        Christian W. Frank, Bar No. 01219
                        PRAY LAW FIRM, P.A.
                        P. O. Box 94224
                        N. Little Rock, AR 72190
                        (501) 771-7733




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                                AFCN
                                PO Box 16474
                                Little Rock, AR 72231
                                America's Car Mart
                                802 S E Plaza Ave
                                Ste 200
                                Bentonville, AR 72712
                                AR Family Care Network
                                PO Box 16474
                                Little Rock, AR 72231-6474
                                Arkansas Health Group Anesth.
                                11001 Exec Ctr Dr Ste. 200
                                Little Rock, AR 72211-4393
                                Ashley Funding/Resurgent Cap S
                                PO Box 10587
                                Greenville, SC 29603
                                Banister-Lieblong Clinic
                                2425 Dave Ward Dr, Ste. 401
                                Conway, AR 72034
                                Baptist Health Federal Credit
                                C/O Audrianna Grisham, PA
                                PO Box 13980
                                Maumelle, AR 72113
                                BH Cardiology & Med Clinic
                                11001 Exe Ctr Dr/Ste 200
                                Little Rock, AR 72211
                                Cap One Bank
                                PO Box 60599
                                City of Industry, CA 91716
                                Capital One Auto
                                C/o Corporation Service Co.
                                300 Spring Bld, Ste 900
                                300 S. Spring St.
                                Little Rock, AR 72201
                                Capital One Auto Finance
                                3905 N. Dallas Parkway
                                Plano, TX 75093
                                Capital One Bank
                                PO Box 30281
                                Salt Lake City, UT 84130




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                                Cardiology and Medicine Clinic
                                5315 W. 12th St.
                                Little Rock, AR 72204
                                Carrington Mortgage Svcs
                                PO Box 54285
                                Irvine, CA 92619
                                Citi c/o United Guaranty Comm
                                Ins Co of NC
                                PO Box 60420
                                Charlotte, NC 28254
                                Credit One
                                P. O. Box 60500
                                City Of Industry, CA 91716
                                District Court of Faulkner Co
                                810 Parkway
                                Conway, AR 72034
                                District Court of Little Rock
                                Civil Division
                                600 West Markham
                                Little Rock, AR 72201
                                Dyke & Winzerling
                                415 North McKinley/Ste 1177
                                Little Rock, AR 72205
                                Elastic/Republic Bank & Trust
                                PO Box 950276
                                Louisville, KY 40295
                                Eugene Allen
                                500 Adams Vineyard Rd
                                Benton, AR 72015
                                Faulkner County Collector
                                806 Faulkner St.
                                Conway, AR 72034
                                Fed Loan Servicing
                                PO Box 69184
                                Harrisburg, PA 17106
                                Fingerhut
                                P O Box 166
                                Newark, NJ 07101
                                First Collection Service
                                10925 Otter Creek E. Blvd.
                                Mabelvale, AR 72103




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                                First Premier Bank
                                P O Box 5519
                                Sioux Falls, SD 57117
                                GC Services
                                6330 Gulfton
                                Houston, TX 77081
                                Genesis FS Card Services
                                P O Box 4477
                                Beaverton, OR 97076-4477
                                IRS
                                PO Box 7346
                                Philadelphia, PA 19101-7346
                                labCorp
                                P.O. Box 2240
                                Burlington, NC 27216-2240
                                Little Rock Surgical Clinic
                                500 S University Ave, Ste 317
                                Little Rock, AR 72205
                                LVNV Funding/FNBM
                                Resurgent Cap Services
                                PO Box 10587
                                Greenville, SC 29603
                                Martin Murphy Sports Surg Cl
                                c/o Mid-So Adj
                                316 W 6th/Ste A
                                Pine Bluff, AR 71601
                                Merrick Bank
                                PO Box 660702
                                Dallas, TX 75266
                                Mid South Adjustment
                                316 West 6th, Suite A
                                Pine Bluff, AR 71601
                                Midsouth Adj
                                123 W 2nd St
                                Pine Bluff, AR 71601
                                Othell Dunn
                                PO Box 241698
                                Little Rock, AR 72223
                                Pathology Laboratories of AR
                                #1 Lile Court, Suite 101
                                Little Rock, AR 72205




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                                Portfolio Rec Assoc
                                PO Box 41067
                                Norfolk, VA 23541
                                Progressive Leasing
                                256 West Data Dr.
                                Draper, UT 84020
                                St Vincent Health Sys
                                PO Box 22720
                                Little Rock, AR 72221-2720
                                St Vincent Physician Clinic
                                PO Box 23410
                                Little Rock, AR 72221
                                Surgical Clinic of Central AR
                                PO Box 370
                                Conway, AR 72033-0370
                                US Department of Education
                                P. O. Box 530260
                                Atlanta, GA 30353-0260
                                Volvo
                                PO Box 26131
                                Greensboro, NC 27402-6131




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